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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK



    COMMODITY FUTURES TRADING
    COMMISSION,
                                                                 SCHEDULING ORDER
    Plaintiff,
                                                                  18-CV-361


                   - against-

                                                                                          Filed
    PATRICK K. MCDONNELL,                                                                                 y
    and CABBAGETECH,CORP. d/b/a COIN
    DROP MARKETS,                                                                 ★      JUL 12 2018      ★

                                    Defendants.                                   BROOKLYN OFFICE

   Jack B. Weinstein, Senior United States District Judge:

          Plaintiffs proposed findings of fact, conclusions of law, and post-trial brief shall be filed

   by July 27, 2018.

          Defendant's proposed findings offact, conclusions oflaw, and post-trial brief shall be

   filed by August 9,2018.

          Plaintiffs response shall be filed by August 22, 2018.

          Oral argument will be heard on August 23,2018 at 10:30 a.m.

          The plaintiff, in addition to supplying the defendant with daily transcripts, shall forthwith

  furnish him with copies of all exhibits not already furnished to him, plus the physical charts used

   in summation.


          The court directed plaintiff to send a copy ofthe "Federal Pro Se Legal Assistance

   Project" flyer to the defendant. He has a right to counsel in the remaining phases of the trial and

   in a possible appeal.
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         This order shall be emailed to the parties at once, as well as being filed and docketed

  forthwith.




                                                           ORDERED.




                                                       Jack B. Weinstein
                                                       Senior United States District Judge
  Dated: July 12,2018
         Brooklyn, New York
